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                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                  Plaintiff,
      vs.                                    Case No. 09-40041-01-10-RDR

ADAN MOLINA, et al.,

                  Defendants.


                            MEMORANDUM AND ORDER

      This   matter   is    presently      before      the    court      upon    various

pretrial motions filed by some of the parties.                   On June 3, 2010,

the court held oral argument on these motions.                   The court is now

prepared to rule.

BACKGROUND

      The initial indictment in this case contained 49 counts and

nine defendants and was filed on April 15, 2009.                        Following the

filing of this indictment, three defendants entered guilty pleas.

A   superseding   indictment       was   filed    on     April     7,    2010.         This

indictment    contains     63    counts.     It     was      filed      against     seven

defendants,    adding      new   defendant       Kelly       Rubio      who   had      been

previously charged in Case No. 09-40037.                  Two of the defendants,

Filberto Ruiz and Gilberto Martinez-Villa, remain fugitives.                            Of

the remaining five, only three–-Adan Molina, Rosendo Figuero-

Banuelos and Rubio--have filed pretrial motions.                     Defendant Molina

is named in 59 counts, all but Counts 57 to 60.                               Defendant
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Figuero-Banuelos is named in nine counts of the indictment, Counts

1, 13, 26-28, 30 and 61-63.          Defendant Rubio is named in 7 counts,

Count 1 and Counts 57 to 62.

      In Count 1, the defendants are charged with conspiracy to

possess with the intent to distribute 500 grams or more of a

mixture or substance containing methamphetamine in violation of 21

U.S.C. § 846.      In Counts 2, 3, 6-9, 11-19, and 21-48, Molina and

the   other   defendants       are   charged   with    using     a    communication

facility in committing, causing and facilitating the offense of

possessing    with   intent     to   distribute    a   mixture        or   substance

containing methamphetamine in violation of 21 U.S.C. § 843(b).                      In

Count 4, Molina and other defendants are charged with conducting

and   attempting     to   conduct     a   financial    transaction         affecting

interstate commerce, to wit:              attempted travel from Kansas to

Arizona with $30,000 which involved proceeds of drug trafficking

with the intent to promote the carrying on of drug trafficking and

knowing that transactions were designed in whole or in part to

conceal and disguise the nature, the location, the source, the

ownership or the control of the proceeds of the drug trafficking in

violation 18 U.S.C. §§ 2, 1956(a)(1)(A)(I) and (a)(1)(B)(I).                        In

Count 5, Molina and other defendants are charged with attempting to

travel from Kansas to Arizona with the intent to promote, manage,

establish and carry on an unlawful activity, that is, conspiracy to

possess with intent to distribute and dispense 500 grams or more of


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a mixture or substance containing methamphetamine in violation of

18 U.S.C. §§ 2 and 1952(a)(3).       In Counts 10, 20 and 49, Molina and

other defendants are charged with distribution of a mixture or

substance containing methamphetamine in violation of 21 U.S.C. §

841(b).      In    Counts   51-56,   Molina   is   charged     with   using   a

communication facility in committing, causing and facilitating the

offense of possessing with intent to distribute a mixture or

substance containing methamphetamine in violation of 21 U.S.C. §

843(b). In Counts 57-60, Alfonso Rubio-Ayala and Rubio are charged

with using a communication facility in committing, causing and

facilitating the offense of possessing with intent to distribute a

mixture or substance containing methamphetamine in violation of 21

U.S.C. § 843(b).        In Count 61, Molina and other defendants are

charged with possession with intent to distribute a mixture or

substance containing methamphetamine in violation of 21 U.S.C. §

841(a)(1).    In Count 62, Molina and other defendants are charged

with possession of firearms in furtherance of a drug trafficking

crime in violation of 18 U.S.C. § 924(c)(1)(A).                 In Count 63,

Molina and other defendants are charged with possession of firearms

by illegal aliens in violation of 18 U.S.C. § 922(g)(5).

     The grand jury has charged others than those named in the

instant superseding indictment in this methamphetamine trafficking

conspiracy.       The conspiracy is alleged to have occurred from on or

about June 15, 2008 to the date of the superseding indictment,


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April 7, 2010.      A total of 30 defendants, including the seven

presently charged in this case, have been indicted.                   Of those 30,

at least 17 have entered guilty pleas. One defendant has proceeded

to trial and been found guilty.          Four defendants, including two in

this case, remain fugitives.

     Defendant Molina has filed the following motions:                     (1) motion

for bill of particulars; (2) motion for disclosure of grand jury

transcripts and minutes; (3) motion for identification of expert

witness;   (4)   motion      to     exclude      co-conspirators’      testimonial

statements;   (5)   motion        to   disclose      identities      and    personal

information regarding confidential informants; (6) motion for James

hearing; (7) motion to prohibit government from approaching him;

and (8) motion for adequate court facilities.                  At oral argument,

defendant Molina indicated that the court could consider the

following motions on the briefs that have been submitted:                          (1)

motion for identification of expert witness; (2) motion to exclude

co-conspirators’ testimonial statements; (3)                  motion to prohibit

government from approaching him; and (4) motion for adequate court

facilities.      Defendant Figuero-Banuelos has filed a motion to

dismiss.   Defendant Rubio has filed a motion to dismiss or, in the

alternative, motion for bill of particulars.                  The government has

filed a motion to amend/correct the superseding indictment.

     The court shall consider the pretrial motions filed by the

defendants as directed at the superseding indictment because the


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superseding indictment has not changed any of the issues raised by

the defendants in their motions.           See United States v. Bazuaye,

2004 WL 784835 at *5 (S.D.N.Y. 2004), aff’d, 2008 WL 1813244 (2nd

Cir. 2008) (“The filing of a superseding indictment does not have

an effect on the pretrial motions filed on the original indictment

unless the district court has ruled that the superseding indictment

moots the pending motions.”) (citation and internal quotation marks

omitted). The court notes that only defendant Rubio filed a motion

after the filing of the superseding indictment.

MOTION TO AMEND/CORRECT INDICTMENT (Doc. # 146)–-Government

       The government seeks to amend Count 62 of the superseding

indictment by interlineation.        The government notes that, in Count

62, the grand jury charges the defendants with possession of

firearms in furtherance of a drug trafficking crime in violation of

18 U.S.C. § 924(c)(1)(A).         The government further notes that the

drug trafficking crime noted is alleged to be the one charged in

“Count 62” of the superseding indictment.           The government suggests

that this is a typographical error and it should refer to “Count

61.”    None of the defendants filed a response to the government’s

motion.     At oral argument, defendants Molina and Figuero-Banuelos

raised objections to the government’s motion.             Defendant Figuero-

Banuelos argued, without citing to any support or authority, that

the government should not be allowed to amend the superseding

indictment because the proposed change was an essential element of


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the offense charged in Count 62.

     Substantive amendments to an indictment can only be made by

the grand jury.    United States v. Cook, 745 F.2d 1311, 1316 (10th

Cir. 1984).   However, the court may amend an indictment concerning

matters of form, including typographical errors.             Id.

     The error noted by the government is clearly a typographical

error that can be corrected by interlineation.          Accordingly, this

motion shall be granted. The court shall direct the clerk to amend

Count 62 by interlineation to change the language from “as alleged

in Count 62 herein” to “as alleged in Count 61 herein.”

MOTION TO DISMISS (Doc. # 100)–-Figuero-Banuelos

     The defendant seeks to dismiss the indictment based upon the

Speedy Trial Act(STA), 18 U.S.C. §§ 3161 et seq.             He contends that

seventy days have passed since his arraignment and he has filed no

pretrial motions and has not joined in the pretrial motions of his

defendants.     The   government   contends    there    has     been   no     STA

violation because the delay in this case that is attributable to

one defendant is applicable to all co-defendants.

     “The Speedy Trial Act is designed to protect a criminal

defendant’s constitutional right to a speedy trial and serve the

public interest in bringing prompt criminal proceedings.”               United

States v. Thompson, 524 F.3d 1126, 1131 (10th Cir. 2008). It

generally requires that the trial of a defendant commence within

seventy days from the later of the filing date of the information


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or indictment or the defendant’s initial appearance. 18 U.S.C. §

3161(c)(1).    Certain defined periods of delay are automatically

excluded from the calculation of the seventy-day time limit.                   18

U.S.C. § 3161(h)(1)-(7).           The STA mandates dismissal of the

indictment upon defendant’s motion if the seventy-day period is

exceeded.   18 U.S.C. § 3162(a)(2).

     In this case, the speedy trial clock began running on June 23,

2009, the date of the defendant’s first appearance before a

judicial    officer   and    the   date   of   his    co-defendants’       first

appearances. The period from that date to the present is 343 days.

The court finds that the following periods are excludable pursuant

to 18 U.S.C. § 3161(h)(1)(D) because pretrial motions filed by

other defendants were pending:        July 15, 2009 to August 20, 2009

[17 days]; September 11, 2009 to September 15, 2009 [5 days]; and

September 21, 2009 to date [263 days]. See United States v. Pagan,

714 F.2d 225, 226-27 (2nd Cir. 1983) (exclusions of pretrial motions

under original indictment carried over to superseding indictment).

Subsection (h)(1)(D) “excludes all time, regardless of reasonable-

ness, between the filing of the pretrial motion and the hearing

thereon, as well as all time following the hearing during which the

court awaits the filing of additional materials by the parties that

are needed for proper disposition of the motion.” United States v.

Mora, 135 F.3d 1351, 1355 (10th Cir. 1998).                 These periods of

excludable time alone indicate that the defendant’s rights under


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the STA have not been violated.      See United States v. Shepard, 462

F.3d 847, 864 (8th Cir. 2006) (“[Defendant’s] only argument as to

the Speedy Trial Act is that time excluded due to the motions filed

by his codefendants should not toll [his] Speedy Trial Act clock.

[Defendant] contends that because he did not file pretrial motions

himself and cause a delay in the trial date, his clock should have

continued to run.    That, however, is not the law, and thus we find

no error in the district court’s calculation and determination that

the Speedy Trial Act was not violated.”).                Because the time

excluded for these motions brings the defendant within the seventy-

day STA period, it is unnecessary for the court to discuss whether

the time that the continuance motions were pending is excludable.

Thus, the court finds no violation of the STA.           Accordingly, this

motion must be denied.

MOTION FOR BILL OF PARTICULARS (Doc. # 64)–-Molina

     The   defendant   seeks   a   bill     of   particulars    due   to     the

complexity of the charges in this case. Specifically, he notes (1)

the extended period of time over which the conspiracy is alleged to

have occurred; and (2) the number of alleged co-defendants and the

number of allegedly known but unidentified co-conspirators.                  He

asserts that the indictment and the discovery provided by the

government fails to provide the following: (1) the identity of all

known but unidentified co-conspirators; (2) the location where the

alleged conspiracy was formed; (3) the manner in which the alleged


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conspiracy was designed to achieve its alleged purpose; (4) the

persons who were present when the conspiracy was formed; (5) the

specific terms of the conspiratorial agreement; (6) the particulars

as to all meetings and conversations in which he or any other

defendant or known co-conspirator participated; (7) the location of

any meetings or conversations in which he or any other defendant or

known co-conspirator participated; and (8) the approximate date

which he or any other defendant joined the conspiracy.                    Although

the defendant mentions all of the aforementioned circumstances, he

has repeatedly noted in his motion that the government should

provide     a   bill   of    particulars       concerning      the    “known      but

unidentified co-conspirators.”               The defendant reiterated this

contention during oral argument, focusing on the failure of the

government to provide the “known but unidentified co-conspirators.”

     The government notes this is a full discovery case.                          The

government suggests the discovery “has been more than sufficient to

inform    the   defendants    of   the       identity    of   their    known      co-

conspirators.”     The government argues that the defendant is also

aware of its theory of the case.             The government contends that the

defendant does not need any additional information to prepare his

defense, to avoid unfair surprise at trial, or to plead double

jeopardy.

     “‘The purpose of a bill of particulars is to inform the

defendant of the charges against him with sufficient precision to


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allow him to prepare his defense.’”           United States v. Tyler, 42

Fed.Appx. 186, 190 (10th Cir. 2002) (quoting United States v. Ivy,

83 F.3d 1266, 1281 (10th Cir. 1996)). “A bill of particulars is not

necessary if ‘the indictment sets forth the elements of the offense

charged and sufficiently apprised the defendant of the charges’”

against him. United States v. Levine, 983 F.2d 165, 167 (10th Cir.

1992) (quoting United States v. Dunn, 841 F.2d 1026, 1030 (10th

Cir. 1988)).     A bill of particulars is not a discovery device to

obtain the government’s evidence; instead, it is a device used to

obtain the theory of the government’s case where the indictment is

too vague.     Tyler, 42 Fed.Appx. at 190.            Furthermore, where the

government has provided discovery in abundance, defendants cannot

assert that a bill of particulars is necessary because review of

the documents would be copious or burdensome to conduct.                See Ivy,

83 F.3d at 1282.     A bill of particulars is not required where the

information necessary for one’s defense can be obtained through

some other satisfactory form.          See United States v. Canino, 949

F.2d 928, 949 (7th Cir. 1991), cert. denied, 504 U.S. 910 (1992).

Thus,    a   defendant’s     access   to   evidence    is   a   factor    to    be

considered.    See United States v. Kunzman, 54 F.3d 1522, 1526 (10th

Cir. 1995).    The district court has broad discretion in deciding a

motion for a bill of particulars.          United States v. Edmonson, 962

F.2d 1535, 1541 (10th Cir. 1992).

        The indictment sets forth the essential elements of the


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conspiracy offense charged and provides the defendant with minimal

notice of the charge against which he must defend.                The court is

satisfied     that   the   indictment    meets   the   minimal     due   process

standards.      The indictment is not so vague or incomplete as to

prejudice the defendant in anticipating and preparing his defense

or in later asserting double jeopardy protection. In addition, the

government has provided voluminous discovery to the defendant.

This discovery provides considerable information to the defendant

concerning the nature of the conspiracy and the details surrounding

it.     Thus, the defendant can obtain the requested information

through another satisfactory form.

       Some of the detail that the defendant complains is lacking is

not required to be in an indictment; nor is a bill of particulars

meant to be a discovery device for this information. Specifically,

neither the indictment nor the bill of particulars need identify:

(1) the place where the conspiracy was formed; (2) the persons

present when the conspiracy was formed; (3) the persons who

participated in all meetings in furtherance of the conspiracy; (4)

the    specific   terms    of   the   conspiratorial     agreement;      (5)    the

specifics, including the location of all meetings and conversations

in which the defendant participated, including the names of all

persons that the government claims were co-conspirators; or (6) the

date    on   which   the   defendant    joined   the   conspiracy.       This   is

essentially a request for the “whens, wheres and with whoms of acts


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and participation in the charged conspiracy,” which is not the

proper function of a bill of particulars.                 United States v.

Riggins, 2008 WL 558087 at *2 (D.S.D. 2008) (citing United States

v. Jimenez, 824 F.Supp. 351, 363 (S.D.N.Y.1993)).             Moreover, it is

not necessary for a conviction that a conspirator “‘know of the

existence or identity of the other members of the conspiracy or the

full extent of the conspiracy [as long as he has] a general

awareness of both the scope and the objective of the enterprise.’”

United States v. Eads, 191 F.3d 1206, 1210 (10th Cir. 1999) (quoting

United States v. Evans, 970 F.2d 663, 669-70 (10th Cir. 1992), cert.

denied, 507 U.S. 922 (1993)), cert. denied, 530 U.S. 1231 (2000).

The government is not obligated to provide information on “known

but unidentified co-conspirators.”          See United States v. Guebara,

80 F.Supp.2d 1226, 1229 n. 3 (D.Kan. 1999); United States v.

Villota-Gomez, 994 F.Supp. 1322, 1335 (D.Kan. 1998); but see United

States v. Anderson, 31 F.Supp.2d 933, 938 (D.Kan. 1998).

     In sum, the court is not persuaded that a bill of particulars

is necessary here.     The defendant’s motion shall be denied.

MOTION FOR DISCLOSURE OF EXPERT WITNESSES (Doc. # 76)–-Molina

     The defendant seeks to have the government provide (1) a

written summary of any testimony that the government intends to use

under Fed.R.Evid. 702, 703 and 705 during its case-in-chief; and

(2) a summary of each expert witness’ opinion and the reasons for

that opinion and the witness’ qualifications.


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       The government has responded that it has provided through

discovery the information sought by the defendant.                 The government

further notes that the case agent will testify as an expert

regarding    drug   trafficking     investigations,       drug         trafficking

organizations and wiretap investigations.              The government has

provided some detail on the issues that the case agent or other law

enforcement officers may testify about in a drug trafficking case.

In addition, the government notes that written laboratory reports

have been provided to defense counsel.          The government indicates

that it will later provide the resumé of the forensic chemists.

Finally, the government notes it will present evidence concerning

local geography, aerial photography, cellular phones and pagers.

       The court believes the government has adequately responded to

the defendant’s motion. The government has generally provided what

it will produce at trial through expert testimony.                   Accordingly,

the court shall deny this motion as moot.

MOTION TO EXCLUDE CO-CONSPIRATORS’ TESTIMONIAL STATEMENTS (Doc. #
79)–-Molina

       The defendant seeks to exclude any evidence that any of his

alleged co-conspirators made any testimonial statements to law

enforcement officials regarding him or any of his alleged co-

defendants or co-conspirators unless the court first determines

that   the   declarant   is   unavailable    and   that       he     had   a   prior

opportunity to cross-examine the declarant.             The government has

made it clear that it does not intend to offer statements made by

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a co-conspirator to a law enforcement officer during a custodial

interrogation during its case-in-chief at trial.

        With the government’s statement, the court shall deny this

motion as moot.

MOTION TO DISCLOSE IDENTITY OF GOVERNMENT INFORMANTS (Doc. # 70)-
–Molina

        The defendant seeks an order requiring the government to

disclose the identity of all confidential informants(CIs) that the

government has or will use in the investigation and trial of this

case.     The defendant further seeks the following concerning these

individuals:      (1) statements made by them; (2) their police files;

(3) drug and alcohol treatment information; (4) psychiatric or

psychological information; (5) physical or mental impairments; (6)

agreements or deals made; and (7) other impeachment or exculpatory

evidence.

        The government responds that the defendant has not shown that

the disclosure of the identities of the CIs is necessary to insure

a fair trial.      The government asserts that the CIs here are “mere

witnesses” and thus, it is not necessary that their identities be

disclosed.       The government contends that the CIs did not solely

participate in any of the alleged offenses in the indictment.                  The

government notes that “[e]ach distribution of controlled substances

by this defendant alleged in this indictment was a hand-to-hand

delivery    of    controlled   substances     to   an   undercover   agent      or

informant working with an undercover agent.”

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       The Tenth Circuit has provided the following guidelines for

the disclosure of confidential informants:

       A defendant seeking to force disclosure of an informant's
       identity has the burden to show the informant's testimony
       is relevant or essential to the fair determination of
       defendant's case. In determining whether to require
       disclosure, a court must balance the public interest in
       protecting the flow of information against the
       individual's right to prepare his defense. The court
       conducts this balancing in light of the crime charged,
       the possible defenses, and the significance of the
       informant's testimony. Where it is clear that the
       informant cannot aid the defense, the government's
       interest in keeping secret [the informant's] identity
       must prevail over the defendant's asserted right of
       disclosure.

United States v. Gordon, 173 F.3d 761, 767 (10th Cir. 1999) (citing

Roviaro v. United States, 353 U.S. 53, 62 (1957) and United States

v. Sinclair, 109 F.3d 1527, 1538 (10th Cir. 1997)) (internal

quotation marks omitted); see also United States v. Leahy, 47 F.3d

396,   398   (10th   Cir.   1995)   (stating    that      the   testimony   of     a

confidential    informant      “must   be    shown   to    be   valuable    to     a

defendant; mere speculation is not enough”).

       In examining the arguments of the parties, the court is not

persuaded at this point that the defendant has met his burden of

proof in showing that any informant’s testimony would be valuable

to him.      At best, the defendant has only speculated about the

testimony that any informant might be able to provide.                           The

confidential informant privilege will not yield to permit a mere

fishing expedition.         The court will allow the defendant to file

another motion to provide more detailed information about any

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testimony that an informant might be able to offer here.

MOTION FOR JAMES HEARING (Doc. # 72)–-Molina

       The   defendant   seeks   a   James    hearing       to   determine       the

admissibility    of   extrajudicial      statements    by      the   alleged     co-

conspirators. He argues that the lack of identification of some of

the known co-conspirators requires a James hearing so that the

court can determine the existence of a conspiracy prior to the

introduction of any of their statements.

       The government contends that a James hearing is not necessary

in this case.    The government argues that the defendant has failed

to show that such a hearing is required.

       Under Rule 801(d)(2)(E) of the Federal Rules of Evidence, a

statement is not hearsay if it is made by “a co-conspirator of a

party during the course and in furtherance of the conspiracy.”

Before a co-conspirator's statement can be admitted pursuant to

Rule    801(d)(2)(E),    the     trial     court   must      determine      by     a

preponderance of the evidence:        (1) that a conspiracy existed; (2)

that the declarant and the defendant were both members of the

conspiracy; and (3) that the statements were made in the course of

and in furtherance of the conspiracy.          United States v. Sinclair,

109 F.3d 1527, 1533 (10th Cir. 1997).              In deciding whether the

prerequisites for admission of the co-conspirator's out-of-court

statement have been satisfied, the court may consider the hearsay

statement sought to be admitted in addition to the independent


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evidence presented.      Id.; United States v. Johnson, 911 F.2d 1394,

1403   (10th   Cir.   1990),    cert.    denied,        498   U.S.     1050   (1991).

“‘[T]here need only be some independent evidence linking the

defendant to the conspiracy.’”          United States v. Lopez-Gutierrez,

83 F.3d 1235, 1242 (10th Cir. 1996) (quoting United States v.

Martinez, 825 F.2d 1451, 1453 (10th Cir. 1987)).                 To be sufficient,

the independent evidence need not be substantial, but it must be

something other than the proffered statement.                  Id.

       Under Tenth Circuit law, the district court may satisfy the

prerequisites for admission of a co-conspirator statement through

either   of    two    means:     by     holding     a    James    hearing      or    by

provisionally admitting the statement “with the caveat that . . .

the party offering [it] must prove the existence of the predicate

conspiracy through trial testimony or other evidence.”                         United

States v. Owens, 70 F.3d 1118, 1123 (10th Cir. 1995).                    Although it

has a “strong preference for James proceedings where the government

relies    on    co-conspirator        statements,”            United     States      v.

Gonzalez-Montoya, 161 F.3d 643, 649 (10th Cir. 1998), cert. denied,

526 U.S. 1033 (1999), the Tenth Circuit permits a district court to

provisionally admit the statement with the caveat that the offering

party must prove the existence of the predicate conspiracy through

trial testimony or other evidence.            Id.       Thus, a trial court may

determine the admissibility requirements prior to or during trial

in a James hearing outside of the presence of the jury, or it may


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provisionally admit the statement subject to proof at trial that

connects up the statements to the predicate conspiracy elements.

United States v. Powell, 982 F.2d 1422, 1432 (10th Cir. 1992), cert.

denied, 507 U.S. 946 (1993); United States v. Hernandez, 829 F.2d

988, 994 (10th Cir. 1987) (“[D]ue to intertwining nature of the

non-hearsay testimony and the challenged statements,” the court was

justified in provisionally admitting the statements in lieu of

following the preferred procedure), cert. denied, 485 U.S. 1013

(1988).   A defendant has no distinct right to a pretrial hearing

with regard to the conspiracy determination.                 United States v.

Hernandez, 829 F.2d at 994.

     “[I]n   certain     instances     where       it   is     not   ‘reasonably

practicable to require the showing to be made before admitting the

evidence, the court may admit the statements subject to being

connected up.’”    United States v. Cardall, 885 F.2d 656, 669 (10th

Cir. 1989) (quoting United States v. Petersen, 611 F.2d 1313, 1330

(10th Cir. 1979)) (quoting in turn United States v. James, 590 F.2d

575, 582 (5th Cir.) (en banc), cert. denied, 442 U.S. 917 (1979),

cert. denied, 447 U.S. 905 (1980)).           The decision to deviate from

the preferred procedure resides within the trial court's sound

discretionary    judgment,    but    absent    a    substantial      reason      the

preferred order of proof should be followed.                   United States v.

Troutman, 814 F.2d 1428, 1448 (10th Cir. 1987).                This exercise of

discretion is often based “on the particular configuration of the


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government’s evidence and the constraints of a multi-defendant

trial.”    United States v. Roberts, 14 F.3d 502, 514 (10th Cir.

1993).

     The court has carefully considered all of the circumstances in

this case.    Based upon that examination, the court has determined

that it will deny the defendant’s motion for a James hearing and

allow the government to admit the statements at trial subject to

being connected up.       Given the vast amount of evidence in this

case, including the wiretaps and the guilty pleas, the court

believes that it is safe in following this procedure. The size and

scope of this alleged conspiracy would make a pretrial James

hearing unpractical.      Accordingly, this motion shall be denied.

MOTION FOR ADEQUATE COURT FACILITIES (Doc. # 77)–-Molina

     The defendant seeks an order allowing him and his counsel to

sit at a table separate from the other defendants at trial.                     The

defendant suggests that sharing a table with the other defendants

would be impractical and prejudicial.        The defendant points to the

following problems with sitting at the same table as the other

defendants:      (1)   likelihood   that    the   bad    acts    of   the   other

defendants will be attributed to him; and (2) attorney-client

privilege may be compromised because conversations between the two

may be overheard by other defendants and their attorneys.

     The     government   “adamantly”      opposes      this    motion.         The

government contends that the arguments raised by defendant are


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either frivolous or overstated.

     “The criminal process presumes that the defendant is innocent

until proved guilty.” United States v. Larson, 460 F.3d 1200, 1214

(9th Cir.2006) (citing Deck v. Missouri, 544 U.S. 622, 630 (2005)).

“Accordingly, the Constitution prohibits any courtroom arrangement

or procedure that ‘undermines the presumption of innocence and the

related fairness of the factfinding process.’” Id. (quoting Deck,

544 U.S. at 630).    The presumption of innocence is undermined when

there is an unacceptable risk that impermissible factors will come

into play. Id. (citing Estelle v. Williams, 425 U.S. 501, 503

(1976)).      In   situations   where    the    courtroom       arrangement      is

challenged, the court must determine whether the arrangements

create an unacceptable risk to the defendant’s right to a fair

trial.     Id.; see also Tyler v. Nelson, 163 F.3d 1222, 1229 (10th

Cir. 1999).    The decision whether to grant a defendant's motion is

within the discretion of the court.         Tyler, 163 F.3d at 1229.

     The court shall deny this motion.           The court notes that there

are presently only five defendants in this case.                The court is not

persuaded the request made by the defendant is needed here.                      The

court certainly believes that the arguments made by the defendant

are overstated.      The court does not believe that the “guilt by

association” argument has any merit.           The court is persuaded that

the instructions to the jury will remedy this concern.                 Moreover,

the court believes that the defendant and his counsel will be able


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to communicate without attorney-client privilege problems.

MOTION TO PROHIBIT GOVERNMENT LAW ENFORCEMENT OFFICERS OR
COOPERATING INDIVIDUALS FROM APPROACHING DEFENDANT AND ATTEMPTING
TO DISCUSS POSSIBLE PAST OR FUTURE ILLEGAL ACTIVITY WITH DEFENDANT
(Doc. #74)–-Molina

        The   defendant    seeks     to    prohibit     the       government   from

approaching him through the use of law enforcement officers or

cooperating individuals to discuss possible past or future illegal

activity.      He suggests that he has invoked his Fifth Amendment

right to silence and that any conversations with him should be

conducted with his attorney present.                  He argues that any such

conduct by the government would violate Edwards v. Arizona, 415

U.S. 477 (1981).      The government indicates that it has not engaged

in any such conduct and does not intend to engage in any such

conduct.

        The court understands the law as suggested by the defendant.

If such conduct would occur, the court would no doubt be required

to suppress such evidence.           The court further believes that the

government understands its obligations under the law.                    The court

sees no purpose in granting this motion.              The court will deny it as

moot.

MOTION TO INSPECT GRAND JURY TRANSCRIPTS AND MINUTES (Doc. # 66)–-
Molina

        The defendant seeks to examine the testimony of all witnesses

who    testified   before      the   grand     jury   and   will    be   called    as

government witnesses at trial.            Specifically, the defendant seeks


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to   examine    the     testimony   of     “known       but      unidentified       co-

conspirators”      or   the   summaries      of     their       testimony    by     law

enforcement agents who testified before the grand jury.                             He

contends that this information should be provided to him prior to

trial so he can adequately confront these witnesses.                        He also

requests the grand jury testimony so he can determine if it

contains any exculpatory material.          Finally, he requests the grand

jury testimony so he can determine whether the government informed

the grand jury that cooperating witnesses would receive benefits

for their cooperation and/or testimony.               The government argues that

the motion should be denied because the defendant has failed to

show a particularized need for the grand jury information.

      Fed.R.Crim.P. 6 governs disclosure of grand jury minutes,

witnesses    and    transcripts.     The     secrecy       of      the   grand    jury

proceedings is extremely important.               United States v. Procter &

Gamble, 356 U.S. 677, 682 (1958). The Supreme Court has repeatedly

held that grand jury materials can be disclosed only when the party

requesting disclosure shows a particularized need that outweighs

the policy of secrecy.        Dennis v. United States, 384 U.S. 855, 870

(1966). The burden to show that particularized need falls upon the

party requesting the disclosure.           Douglas Oil Co. Of California v.

Petrol Stops Northwest, 441 U.S. 211, 223 (1979). The request must

be structured to cover only material needed to avoid injustice. In

re Grand Jury, 118 F.3d 1433, 1437 (10th Cir.1997).                      It must be


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more than just permission “to engage in a fishing expedition.” Id.

     The court believes defendant has failed to adequately show

that a grand jury transcript is necessary to avoid injustice or to

advance a substantial interest in this case.            The defendant has

simply failed to demonstrate a particularized need for the pretrial

disclosure of the grand jury transcripts.          Therefore, this motion

shall be denied.

MOTION TO DISMISS OR, IN THE ALTERNATIVE, MOTION FOR BILL OF
PARTICULARS (Doc. # 172)–-Rubio

     Defendant Rubio is charged in Count 1 and Counts 57 to 62.

Count 1 is the conspiracy charge.        Counts 57 to 60 charge the use

of a telephone to facilitate a drug crime.               Count 61 charges

possession   with   intent   to   distribute   a   detectable        amount    of

methamphetamine.      Count 62 charges possession of firearms in

furtherance of a drug trafficking crime.

     In her motion to dismiss, the defendant contends the evidence

in support of Count 1 and Counts 57 to 62 is insufficient.                    The

defendant points to the transcripts of the phone conversations that

provide support for charges in Counts 57 to 60.                 The defendant

argues   that   the   matters     discussed    during        those   telephone

conversations do not show a violation of 21 U.S.C. § 843(b).                  The

defendant further contends that the evidence of her participation

in the charged conspiracy is also lacking.         Finally, the defendant

contends that there is no evidence to support the charges that she

possessed methamphetamine with intent to distribute it or firearms

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in furtherance of a drug trafficking crime.              Thus, the defendant

seeks dismissal of all of these counts.              In the alternative, the

defendant requests that the court issue a bill of particulars on

Count 1 of the indictment.      She contends that she lacks sufficient

information to determine her participation in the conspiracy and,

thus, cannot adequately prepare for trial.

     Generally,    the   sufficiency     of    the    evidence     may    not    be

challenged by a pretrial motion.         United States v. Hall, 20 F.3d

1084, 1088 (10th Cir. 1994).       However, in rare cases, a district

court may dismiss “under the limited circumstances where the

operative facts are undisputed and the government fails to object

to the district court’s consideration of those undisputed facts in

making the determination regarding a submissible case.”                  Id.     In

such circumstances, the court is simply deciding, as a matter of

law, that the government cannot prove its case beyond a reasonable

doubt.

     Based upon the presentation to the court, the court is not

persuaded that the defendant is entitled to dismissal of these

counts.    The    government   points    out    that    the     facts    are    not

undisputed here.     The government notes that additional evidence

exists to support the charges against the defendant.                    The court

simply cannot dismiss these counts at this time.               In addition, for

the reasons previously stated in denying defendant Molina’s motion

for bill of particulars, the court shall also deny defendant’s


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motion for a bill of particulars.

     IT IS THEREFORE ORDERED that the government’s motion to

amend/correct indictment (Doc. # 146) be hereby granted. The Clerk

is directed to amend Count 62 by interlineation to change the

language from “as alleged in count 62 herein” to “as alleged in

Count 61 herein.”

     IT IS FURTHER ORDERED that the following motions filed by

defendant Molina are denied:            (1) motion for bill of particulars

(Doc. # 64); (2) motion for disclosure of grand jury transcripts

and minutes (Doc. # 66); (3) motion for identification of expert

witness   (Doc.     #   76);   (4)   motion     to   exclude      co-conspirators’

testimonial   statements        (Doc.    #    79);   (5)   motion     to   disclose

identities    and       personal     information      regarding       confidential

informants (Doc. # 70); (6) motion for James hearing (Doc. # 72) ;

(7) motion to prohibit government from approaching him (Doc. # 74);

and (8) motion for adequate court facilities (Doc. # 77).

     IT IS FURTHER ORDERED that defendant Figuero-Banuelos’ motion

to dismiss (Doc. # 100) be hereby denied.

     IT IS FURTHER ORDERED that defendant Rubio’s motion to dismiss

or, in the alternative, motion for bill of particulars (Doc. # 172)

be hereby denied.

     IT IS SO ORDERED.         Dated this 9th day of June, 2010 at Topeka,
Kansas.


                                        s/Richard D. Rogers

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                              United States District Judge




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